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  IT IS ORDERED as set forth below:



  Date: June 17, 2022
                                                      ________________________________
                                                                  Paul Baisier
                                                          U.S. Bankruptcy Court Judge

 _______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        )      CHAPTER 11
                                              )
ATLANTA LIGHT BULBS, INC.,                    )      CASE NO. 22-52950-pmb
                                              )
         DEBTOR.                              )

           ORDER APPROVING APPOINTMENT OF CHAPTER 11 TRUSTEE

         The Court having considered the Application of the United States Trustee for entry of an

Order approving appointment of S. Gregory Hays as Chapter 11 Trustee in the above-captioned

case, filed on June 17, 2022 (Dkt. No. 67) it is hereby

         ORDERED that the appointment is approved.

                                     END OF DOCUMENT

Order prepared and submitted by:

MARY IDA TOWNSON
UNITED STATES TRUSTEE
REGION 21

/s/ Thomas W. Dworschak
Thomas W. Dworschak
Attorney for the United States Trustee
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Georgia Bar No. 236380
Office of the United States Trustee
Suite 362, Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303
(404) 331-4439
Thomas.W.Dworschak@USDOJ.gov


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